              Case 2:19-cr-00166-VAP Document 274 Filed 10/20/20 Page 1 of 5 Page ID #:2719
                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             CR 19-00166-VAP-3

 Defendant            DANIEL AGUILERA                                        Social Security No. 9          8     1     8

 akas: NONE                                                                  (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH   DAY   YEAR
             In the presence of the attorney for the government, the defendant appeared in person on this date.        10      19   2020


 COUNSEL                                                                  Neil Opdahl, retained
                                                                             (Name of Counsel)

      PLEA            √ GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO              NOT
                                                                                                                CONTENDERE          GUILTY
                      There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:

     FINDING           21 U.S.C. § 846: Conspiracy to Distribute and Possess with Intent to Distribute Marijuana as charged in Count 1 of
                      the Indictment;


JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM    that:
  ORDER

        It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per
quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

       Pursuant to Guideline §5E1.2(a), all fines are waived as the Court finds that the defendant has established that he
is unable to pay and is not likely to become able to pay any fine.

        Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Daniel Aguilera,
is hereby committed on Count 1 of the Indictment to the custody of the Bureau of Prisons for a term of twenty-four (24)
months.

       Upon release from imprisonment, the defendant shall be placed on supervised release for a term of two years
under the following terms and conditions:

1.       The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services
         Office and Amended General Order 20-04.

2.       During the period of community supervision, the defendant shall pay the special assessment in accordance with
         this judgment's orders pertaining to such payment.

3.       The defendant shall cooperate in the collection of a DNA sample from the defendant.


CR-104 (docx 10/18)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                              Page 1 of 5
              Case 2:19-cr-00166-VAP Document 274 Filed 10/20/20 Page 2 of 5 Page ID #:2720

 USA vs.      DANIEL AGUILERA                                                Docket No.:     CR 19-00166-VAP-3

4.       The defendant shall submit his person, property, house, residence, vehicle, papers, computers (as defined in 18
         U.S.C. § 1030(e)(1)), cell phones, other electronic communications or data storage devices or media, email
         accounts, social media accounts, cloud storage accounts, or other areas under the defendant’s control, to a search
         conducted by a United States Probation Officer or law enforcement officer. Failure to submit to a search may be
         grounds for revocation. The defendant shall warn any other occupants that the premises may be subject to
         searches pursuant to this condition. Any search pursuant to this condition will be conducted at a reasonable time
         and in a reasonable manner upon reasonable suspicion that the defendant has violated a condition of his
         supervision and that the areas to be searched contain evidence of this violation.

5.       The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
         drug test within 15 days of and at least two periodic drug tests thereafter, not to exceed eight tests per month, as
         directed by the Probation Officer.

6.       The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes
         urinalysis, breath and/or sweat patch testing, as directed by the Probation Officer. The defendant shall abstain
         from using alcohol and illicit drugs, and from abusing prescription medications during the period of supervision.

7.       As directed by the Probation Officer, the defendant shall pay all or part of the costs of the Court-ordered treatment
         to the aftercare contractors during the period of community supervision. The defendant shall provide payment
         and proof of payment as directed by the Probation Officer. If the defendant has no ability to pay, no payment shall
         be required.

       It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons on
or before 12 noon, on January 5, 2021. In the absence of such designation, the defendant shall report on or before the
same date and time, to the United States Marshal located at: Roybal Federal Building, 255 East Temple Street, Los
Angeles, California 90012.

         The Court recommends that the defendant be designated to a facility in Southern California.

         Defendant’s bond shall be exonerated upon surrender.

         Defendant is advised of his right to appeal.

         In the interest of justice and upon government’s motion, all remaining counts are ordered dismissed.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




              October 20, 2020
              Date                                                 Hon. Virginia A. Phillips, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.




CR-104 (docx 10/18)                           JUDGMENT & PROBATION/COMMITMENT ORDER                                                   Page 2 of 5
              Case 2:19-cr-00166-VAP Document 274 Filed 10/20/20 Page 3 of 5 Page ID #:2721

 USA vs.      DANIEL AGUILERA                                                           Docket No.:     CR 19-00166-VAP-3


                                                                    By     Clerk, U.S. District Court


            October 20, 2020                                               /s/ Christine Chung
            Filed Date                                                     Christine Chung, Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;       9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                   engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a                  any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                         by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                       family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the             review and has determined that the restriction is necessary for
       court or probation officer;                                                        protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without        10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;                  not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation                other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment                  substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;                11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation                  being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before       12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change               ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                    13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her              enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                   permission of the court;
       any contraband prohibited by law or the terms of supervision and            14.    As directed by the probation officer, the defendant must notify
       observed in plain view by the probation officer;                                   specific persons and organizations of specific risks posed by the
 8.    The defendant must work at a lawful occupation unless excused by                   defendant to those persons and organizations and must permit the
       the probation officer for schooling, training, or other acceptable                 probation officer to confirm the defendant’s compliance with such
       reasons and must notify the probation officer at least ten days before             requirement and to make such notifications;
       any change in employment or within 72 hours of an unanticipated             15.    The defendant must follow the instructions of the probation officer
       change;                                                                            to implement the orders of the court, afford adequate deterrence from
                                                                                          criminal conduct, protect the public from further crimes of the
                                                                                          defendant; and provide the defendant with needed educational or
                                                                                          vocational training, medical care, or other correctional treatment in
                                                                                          the most effective manner.




CR-104 (docx 10/18)                                  JUDGMENT & PROBATION/COMMITMENT ORDER                                                            Page 3 of 5
              Case 2:19-cr-00166-VAP Document 274 Filed 10/20/20 Page 4 of 5 Page ID #:2722

 USA vs.      DANIEL AGUILERA                                                    Docket No.:     CR 19-00166-VAP-3



      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

          The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
 proceeds must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts,
 including any business accounts, must be disclosed to the Probation Officer upon request.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




CR-104 (docx 10/18)                               JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 4 of 5
              Case 2:19-cr-00166-VAP Document 274 Filed 10/20/20 Page 5 of 5 Page ID #:2723

 USA vs.      DANIEL AGUILERA                                                   Docket No.:       CR 19-00166-VAP-3



                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal




                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




CR-104 (docx 10/18)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                      Page 5 of 5
